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                     EXHIBIT 8
         Letter from Ronald D. Green
           to Lawrence G. Walters

           Dated December 23, 2014
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                                                 Privileged and Confidential Communication


                                                                          December 23, 2014

    Via Email Only
    Larry@firstamendment.com

    Lawrence G. Walters, Esq.
    Walters Law Group
    195 W. Pine Ave.
    Longwood, FL 32750

           Re: Infringing Material On Serviporno.com

    Dear Larry:

    I am writing on behalf of AMA Multimedia, LLC (“AMA”) f/k/a SSC Group, LLC. On or
    about August 19, 2013, AMA settled its copyright claims against your clients Borjan
    Solutions S.L. d/b/a Serviporno.com, Borjan Mera Urrestarazu, and Monetia, S.L. d/b/a
    Cumlouder.com and Wamcash (collectively, “Respondents”). Those claims related to
    large amounts of AMA’s copyrighted content appearing on the Serviporno.com website
    in a manner that suggested it was being uploaded from other tube sites by Respondents
    themselves and not by users of the Serviporno website. The settlement provided that
    Respondents would take steps to ensure that AMA’s content was not placed unlawfully
    on Respondents’ websites and that, if AMA’s content did appear on Respondents’
    websites, it would be promptly taken down upon notification from AMA.

    For about a year after the execution of the settlement, AMA’s copyrighted content was
    largely absent from the Serviporno website. However, in October of 2013, AMA observed
    that its content had begun appearing on the site in the same manner that it had
    appeared in the past. Specifically, its full length videos and shorter promotional videos,
    which appear legally on other tube sites, are being uploaded to Serviporno from those
    tube sites. As it currently stands, AMA cannot determine whether these videos are being
    uploaded by Serviporno’s users or by Respondents themselves. As such, we request that
    Serviporno provide us with all information regarding the user(s) who uploaded the movies
    located at the following URLs:

    http://www.serviporno.com/videos/corrine-blake-follada-despues-del-masaje/
    http://www.serviporno.com/videos/sexy-asiatica-gozando-de-una-gran-polla/
    http://www.serviporno.com/videos/un-pov-con-una-mini-latina/
    http://www.serviporno.com/videos/la-perfeccion-existe/

    The first two links above are for short videos excerpted from AMA’s longer, full-length
    videos. The latter two links contain AMA’s entire full-length videos. Respondents are not

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                      3625 South Town Center Drive, Las Vegas, Nevada 89135
                               rdg@randazza.com | 702.420.2001
                      LAS VEGAS | MIAMI | PHILADELPHIA | SAN FRANCISCO

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        authorized to display any of them on the Serviporno website. The original videos to which
        AMA owns copyrights can be found on the World Wide Web at:

        http://fantasyhd.com/video/more-than-a-mouthful
        http://puremature.com/video/precious-snatch
        http://tiny4k.com/video/tiny-latina-teen
        http://fantasyhd.com/video/heart-rate-hottie

        The information AMA seeks regarding the users who uploaded these videos includes, but
        is not limited to: their user names, their IP addresses, their email addresses, identification
        of all other videos that these users have uploaded to the Serviporno website, their login
        histories, and any other identifying information about these users in Serviporno’s
        possession. While AMA would like this information as quickly as possible, it additionally
        recognizes that the holidays are fast approaching. Therefore, pursuant to the provisions
        of the settlement agreement, please provide us with this information no later than 14
        days of the date of this correspondence.

        This notice is being provided in good faith and with reasonable certainty that AMA’s
        copyrights are being infringed. We are authorized to act on behalf of AMA as its counsel
        and can attest that the information contained in this communication is true and
        accurate. We appreciate your time and attention to this matter and look forward to your
        response.




!   !   !       !      !       !       Best regards,




                                       Ronald D. Green




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